Case 1:23-cv-00108-LMB-JFA Document 964-1 Filed 07/26/24 Page 1 of 5 PageID# 41447




                       UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA




   United States of America, et al.,

                       Plaintiff,
                                             Case No. 1:23-cv-00108-LMB-JFA
        v.
                                             The Honorable Leonie M. Brinkema
   Google LLC

                        Defendant.




       DECLARATION OF PRASHANT SAHITA IN SUPPORT OF NON-PARTY THE
                    TRADE DESK, INC.’S MOTION TO SEAL
Case 1:23-cv-00108-LMB-JFA Document 964-1 Filed 07/26/24 Page 2 of 5 PageID# 41448




                           DECLARATION OF PRASHANT SAHITA

         I, Prashant Sahita, declare as follows:

         1.      I am the Lead Senior Business Intelligence Analyst at The Trade Desk, Inc. (“The

  Trade Desk”). I have personal knowledge of the facts set forth herein and if called as a witness

  could and would testify competently to them.

         2.      The Trade Desk is a self-service ad buying platform known as a demand-side

  platform (“DSP”) and is headquartered in Ventura, California with offices in various cities in North

  America, Europe, Asia, and Australia. Our platform empowers our clients to plan, manage, and

  optimize data-driven advertising campaigns.

         3.      I have worked at The Trade Desk since October 2021 and have extensive

  experience collaborating with various teams at The Trade Desk, including Sales, Client Services,

  Finance, Product, Technology, and Marketing to design and develop insights and capabilities to

  help guide strategic decision making at The Trade Desk. In my current role as Lead Senior

  Business Intelligence Analyst at The Trade Desk, I, among other things, surface insights from

  multiple data sources to support complex operational decision making and competitive strategy;

  execute and/or coordinate critical advanced analytics initiatives on behalf of The Trade Desk; lead

  cross-functional teams to develop data-driven insights and decision metrics; and provide analysis

  of key performance indicators and success metrics across various business areas and develop

  actionable insights for leadership. As part of my responsibilities, I regularly analyze competitively

  sensitive financial and performance data of The Trade Desk.

         4.      By operating a DSP platform, The Trade Desk enables its clients – advertisers and

  ad agencies – to purchase digital ad inventory on various media exchanges and sell-side platforms

  as part of their digital advertising campaigns. Each DSP offers a different mix of inventory options



                                                   2
Case 1:23-cv-00108-LMB-JFA Document 964-1 Filed 07/26/24 Page 3 of 5 PageID# 41449




  and products to choose from, making the choice of which DSPs to use a strategic choice. The

  Trade Desk spends considerable resources to compete against other DSP platforms and provide

  the best performance for its clients’ campaigns in terms of targeting, reach, cost-efficiency, and

  return-on-investment. The Trade Desk’s financial strategies and knowledge and understanding of

  DSP strategies make part of the valuable service it provides to its clients and can be seen as a

  competitive advantage.

         5.      Data related to The Trade Desk’s financials and customers is highly confidential,

  sensitive, proprietary information that The Trade Desk uses to develop its competitive strategy and

  complex operational decision-making.       Data, including performance indicators and success

  metrics, are used to provide insights and analyses to a number of teams across The Trade Desk’s

  business so that they can execute on their roles and strategic decisions. Information related to (i)

  The Trade Desk’s inventory costs, bid counts, impressions, and partner costs, and (ii) The Trade

  Desk’s spend, billings, and revenue, are highly sensitive and only accessible to a limited subset of

  employees at The Trade Desk. Public disclosure of this data could be leveraged by The Trade

  Desk’s competitors to undercut The Trade Desk’s services with its clients, its pricing, and its

  business strategy. Public disclosure of these exhibits would unfairly disadvantage and harm The

  Trade Desk’s competitive position in the marketplace.

         6.      DTX1444: This exhibit contains data related to The Trade Desk’s customers, and

  provides exact breakdowns of impressions, partner costs, and other competitively sensitive

  information, such as brands, advertisers, campaigns, partners, inventory type, media type, and bids.

  This data is highly confidential and proprietary, and public disclosure of this information would

  provide The Trade Desk’s competitors with competitively sensitive information that would

  unfairly disadvantage and harm The Trade Desk’s position in the industry.



                                                   3
Case 1:23-cv-00108-LMB-JFA Document 964-1 Filed 07/26/24 Page 4 of 5 PageID# 41450




         7.      DTX1799:      This exhibit contains data regarding The Trade Desk’s inventory,

  media, advertisements, and suppliers, and provides detailed breakdowns of bids, impressions, and

  partner costs, which is highly confidential, non-public, and competitively sensitive information

  that The Trade Desk uses to execute its competitive strategy. Public disclosure of this information

  would provide The Trade Desk’s competitors with competitively sensitive information and

  insights into The Trade Desk’s business that would unfairly disadvantage and harm The Trade

  Desk’s position in the industry.

         8.      DTX1800: This exhibit contains data regarding the Trade Desk’s customers and

  their brands, advertisers, partners, inventory type, media type, advertisements, and suppliers, and

  provides detailed breakdowns of bids, impressions, and partner costs, which is highly confidential,

  non-public, and competitively sensitive information that The Trade Desk uses to execute its

  competitive strategy. Public disclosure of this information would provide The Trade Desk’s

  competitors with competitively sensitive information and insights into The Trade Desk’s business

  that would unfairly disadvantage and harm The Trade Desk’s position in the industry.

         9.      DTX 1801: This exhibit contains information related to The Trade Desk’s spend,

  billing, and revenue. This financial data is highly confidential and contains competitively sensitive

  information that could be leveraged by The Trade Desk’s competitors to undercut The Trade

  Desk’s services and its client strategy, pricing, and business strategy. Public disclosure of this

  information would provide The Trade Desk’s competitors with competitively sensitive

  information and insights into The Trade Desk’s business that would unfairly disadvantage and

  harm The Trade Desk’s position in the industry.

         10.     The Trade Desk’s customer data and financial data that are broken down in these

  exhibits in detail would expose the Trade Desk’s highly confidential customer approach and



                                                    4
Case 1:23-cv-00108-LMB-JFA Document 964-1 Filed 07/26/24 Page 5 of 5 PageID# 41451




       pricing strategy. The Trade Desk 's data and analyses, which it ha~ invested significant. resources

       in compiling, have substantial economic and competitive value. The Trade Desk spends a

       significant amount. of money and resources to develop such specialized knowledge and

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       its clients.

                11.     Public disclosure of this infonnation would compromise The Trade Desk' s posit.ion

       in the marketplace by giving its competitors an inside look into the proprietaiy practices that. give

       The Trade Desk a competitive advantage in the programmatic advertising space and grant such

       c-ompetitors a valuable and inequitable shoitcut to their own development. efforts. This data would

       provide The Trade Desk 's competitors with insight into The Trade Desk' s confidential analyses

       which would allow them to undennine The Trade Desk's strategies and c-ompetitive edge.

                I declare under penalty of perju1y under the laws of Virginia that. the foregoing is tme and

       co1Tect. and that. this declaration was exe-cuted on July _25 , 2024, in New York, New York.



                                                                              Prashant Sahita




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